Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 1 of 21                   PageID #: 7




           STATE OF MAINE                           SUPERIOR COURT
           KENNEBEC,                                ALicrISTA

           JESSICA L. FAGRE,as the                        NO.CV- I       q _ 2t4,
           Personal Representative of the
           Estate of AMBROSHIA E. FAGRE
                                     Plaintiff,

                  V.

           SCOTT W.IRELAND,in his
           individual capacity;
           JEFFREY PARKS,
           in his individual capacity;
           MARK BROWN,in his individual
           capacity;

                                      Defendants.


                                     COMPLAINT

                 1.     The Plaintiff, Jessica L. Fagre on behalf of Ambroshia

           E. Fagre, bring this civil rights and wrongful death action against

           the Defendants, Scott Ireland, Jeffrey Parks, and Mark Brown,

           under 42 U.S.C. § 1983, 5 M.R.S.A. § 4682, and 18-A M.R.S.A. §

           2-804, for the unlawful use of excessive and deadly force against

           Ambroshia E. Fagre, and failing to protect Ms. Fagre, on February

           10, 2017 in Vassalboro, Maine in violation of the Fourth and



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Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 2 of 21            PageID #: 8




           Fourteenth Amendments of the United States Constitution, and

           Article One Section 5 of the Maine Constitution, and Maine law,

           which caused conscious pain and suffering, and, ultimately, the

           death of Ambroshia E. Fagre.


                  I.     PARTIES

                  2.     Jessica L. Fagre is the mother of Ambroshia E. Fagre,

           and personal representative of the estate of Ambroshia E. Fagre, as

           duly appointed by the Kennebec County Probate Court, and the

           rightful heir of Ambroshia E. Fagre under 18-A M.R.S.A.§ 2-106.

                  3.     At all times relevant to this Complaint, Ambroshia E.

           Fagre was 18 years old, and a resident of Oakland, Maine.

                  4.     Scott W. Ireland was, at all times relevant to this

           Complaint, a Lieutenant with the Maine State Police, and acting

           under the color of law as a police officer for the State of Maine; Mr.

           Ireland is being sued in his individual capacity.

                 5.      Jeffrey Parks was, at all times relevant to this

           Complaint, a Trooper with the Maine State Police, and acting




                                          2
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 3 of 21            PageID #: 9




           under the color of law as a police officer for the State of Maine; Mr.

           Parks is being sued in his individual capacity.

                 6.      Mark Brown was, at all times relevant to this

           Complaint, the Chief of Police for Vassalboro, and acting under the

           color of law as a police officer for the town of Vassalboro; Mr.

           Brown is being sued in his individual capacity.


                 II.    STATEMENT OF FACTS

                 7.     On February 10, 2017, Defendants Jeffrey Parks and

           Scott Ireland fire several shots into a vehicle that Ambroshia E.

           Fagre (hereafter "Amber")is a passenger in.

                 8.     One of the shots fired by Jeffrey Parks hits and kills

           Amber.

                 9.     On February 10, 2017, Scott Ireland is notified by a

           neighbor of a suspicious Dodge Durango parked in the neighbor's

           property in Vassalboro, Maine.




                                         3
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 4 of 21           PageID #: 10




                   10.    Lieutenant Ireland puts on his Maine State Police

            jacket and gun belt to investigate the complaint of the suspicious

            vehicle.

                   11.    Lieutenant Ireland     drives down the road to

            investigate in his Maine State Police vehicle.

                   12.    Lieutenant Ireland sees the Dodge Durango parked

            in a turnaround on the road.

                   13.    Lieutenant Ireland sees Amber sitting in the front

            passenger seat of the Durango; she is the only occupant of the

            vehicle at this time.

                   14.    Amber appears to Lieutenant Ireland to be slumped

            over and unconscious.

                   15.    Lieutenant Ireland approaches the Durango fearing

            Amber is suffering from carbon monoxide poisoning.

                  16.     Lieutenant   Ireland   pounds      on   the   Durango

            passenger window to wake Amber.

                  17.     Lieutenant Ireland asks Amber to get out of the

           Durango, which she does.




                                           4
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 5 of 21            PageID #: 11




                   18.     Lieutenant Ireland determines Amber is not suffering

            from carbon monoxide poisoning.

                   19.     Amber appears very lethargic and "out of it" to

            Lieutenant Ireland.

                   20.     Amber tells Lieutenant Ireland she is waiting for her

            boyfriend to come back.

                   21.     Amber gives Lieutenant Ireland several different

            names for her boyfriend, including Nick, Brian, and Hunter, and

            tells Lt. Ireland she does not know his last name.

                   22.     Lieutenant Ireland is joined by Sgt. Galen Estes of the

            Kennebec County Sheriff's Office, who is investigating a burglary

            in the area.

                   23.     Lieutenant Ireland sees footprints in the snow

            leading from the Durango to a nearby home.

                   24.     Lieutenant   Ireland    attempts    to   contact   the

            homeowner above, but is unable to reach him.

                   25.     Lieutenant Ireland contacts a relative of the

            homeowner and asks him to check on the owner.




                                           5
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 6 of 21          PageID #: 12




                   26.   Lieutenant Ireland learns from the relative that the

            homeowner has been tied up at gunpoint and the house

            ransacked.

                  27.    Lieutenant Ireland goes to the home to investigate

            further.

                  28.    Lieutenant Ireland asks Sgt. Estes to stay with Amber

            at the Durango.

                  29.    After Lt. Ireland leaves the Durango, Chief Mark

            Brown arrives at the Durango.

                  30.    Chief Brown learns there are drugs inside the

            Durango and two rings inside the pocket of Amber's sweatshirt

            that her boyfriend asked her to hold.

                  31.    Sgt. Estes eventually leaves the area and Chief Brown

           remains with Amber at the Durango.

                  32.    In investigating the home invasion, Lt. Ireland learns

           a man (later identified as Kadhar Bailey) knocked on the home

           owner's door, offered to shovel the driveway for a fee and then

           left; soon after, the home owner heard a noise in the garage and




                                         6
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 7 of 21         PageID #: 13




            when he checked on it, Mr. Bailey held the homeowner at

            gunpoint and tied him up inside the basement of the home, and

            then ransacked the home.

                  33.    Lt. Ireland learns that Mr. Bailey stole the

            homeowner's pick up truck and left the home in the truck.

                  34.    Chief Brown checks the area, and finds the

            homeowner's truck parked on a snowmobile trail.

                  35.    Lt. Ireland notices footprints leading from the truck

            to the area where the Dodge Durango is parked.

                  36.    Lt. Ireland notifies via radio Chief Brown with the

           above information regarding the home invasion and the footprints

           leading to the area of the Durango, and notifies Chief Brown that

           Mr. Bailey is heading toward his area and was armed.

                  37.    Amber is with Chief Brown when he receives the

           above information from Lt. Ireland.

                  38.    Chief Brown takes no steps to place Amber in a

           secure and safe location.




                                        7
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 8 of 21         PageID #: 14




                   39.    Chief Brown could have placed Amber inside his

            cruiser to protect her from the armed and dangerous person in the

            area, but took no steps to do that.

                  40.     Chief Brown sees Mr. Bailey approaching the area

            with a handgun.

                  41.     Chief Brown draws his firearm and orders Mr. Bailey

            to stop.

                  42.     Mr. Bailey continues to approach Chief Brown and

            Amber, who was in the passenger seat of the Durango.

                  43.     Chief Brown is standing next to the passenger side

            door of the Durango at this time and is aware that Amber is seated

           in the passenger seat.

                  44.     Chief Brown takes cover on the drive side hood of

           the Durango.

                  45.     Chief Brown fires his gun at Mr. Bailey and then

           takes cover in a nearby snowbank.




                                          8
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 9 of 21            PageID #: 15




                  46.      Chief Brown leaves Amber alone in the Durango

            knowing Mr. Bailey is approaching the vehicle armed and

            dangerous.

                  47.      Mr. Bailey fires his gun at Chief Brown.

                  48.      Mr. Bailey gets into the Durango.

                  49.      Mr. Bailey sits in the driver seat and begins to drive

            the Durango.

                  50.    Chief Brown fires another shot at Mr. Bailey as he is

            driving the Durango.

                  51.    Trooper Parks arrives on the scene at the time the

           first gunshots are being fired.

                  52.    Trooper Parks stops his police cruiser in the road

            when he hears the shots.

                  53.    Lt. Ireland is approaching the Durango on foot when

           he hears the gunshots.

                  54.    Trooper Parks gets out of his cruiser to seek cover.

                  55.    Mr. Bailey drives the Durango down the road

           towards Trooper Parks' now unoccupied cruiser.




                                             9
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 10 of 21         PageID #: 16




                   56.    Trooper Parks moves behind his cruiser.

                   57.    As the Durango approaches the cruiser, Trooper

            Parks moves off the roadway behind a snowbank.

                   58.    Trooper Parks fires several rounds into the Durango.

                   59.    At the time Trooper Parks fires shots into the

            Durango, he can see, or reasonably should have taken notice, that

            Mr. Bailey is driving the vehicle and Amber is sitting in the

            passenger seat.

                   60.    At the time Trooper Parks fires shots into the

            Durango he had previously received information from dispatch, or

            one or more police officers, that a young woman is inside the

            passenger seat of the Durango.

                   61.    At the time Trooper Parks fires shots into the

            Durango, he had safely retreated off the roadway and is not in

            danger of being hit by the Durango.

                   62.    At the time Trooper Parks fires shots into the

            Durango, he is aware the road the Durango is traveling on is a

            remote road with little or no civilian traffic.




                                           10
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 11 of 21            PageID #: 17




                    63.   At the time Trooper Parks fires shots into the

            Durango, he is aware there were other nonlethal measures that

            could be taken to stop the Durango from leaving the remote road.

                    64.   At the time Trooper Parks fires shots into the

            Durango, he is aware his police cruiser is parked in the roadway

            preventing the Durango from fleeing on the roadway.

                    65.   The Durango strikes Trooper Parks' cruiser.

                    66.   One of the shots fired by Trooper Parks hits Amber

            inside the passenger seat of the Durango.

                    67.   After the Durango strikes the cruiser it comes to a

            stop.

                    68.   Lt. Ireland approaches the driver side of the Durango

            armed with a patrol rifle.

                    69.   Lt. Ireland sees Mr. Bailey reach for something in the

            Durango.

                    70.   Lt. Ireland fires a shot at Mr. Bailey, that strikes and

            kills him.




                                          11
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 12 of 21           PageID #: 18




                     71.    Amber is seriously injured by the gunshot wound

            that struck her from Trooper Parks' handgun.

                     72.    Amber is conscious after being shot and is aware she

            has been shot.

                     73.    Amber is taken to the         hospital where she

            subsequently dies as a result of the gunshot injury.


                     III.   CLAIMS FOR RELIEF

                                     Count One
                 Excessive Force,Pursuant to 42 U.S.C.§ 1983, Fourth
              Amendment of United States Constitution as to Defendants
                             Parks,Ireland, and Brown

                     74.    The Plaintiff incorporates all previously alleged

            paragraphs as if alleged herein.

                     75.    The above named Defendants violated Ambroshia E.

            Fagre's right under the Fourth Amendment of the United States

            Constitution to be free from the use of excessive and unreasonable

            force.

                     76.    Trooper Parks shot and killed Amber without legal

            cause or excuse.




                                           12
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 13 of 21         PageID #: 19




                  77.      Trooper Parks knew, or reasonably should have

            known, Amber was not an imminent threat to himself or any other

            police officer, or person, present at the scene at the time Trooper

            Parks fired shots into the Durango.

                  78.      Trooper Parks had safely retreated out of the

            roadway and was not in the path of the oncoming Durango at the

            time he chose to fire shots into the Durango.

                  79.      Trooper Parks knew, or should have known, Amber

            was a passenger inside the Durango at the time he fired shots into

            the Durango.

                  80.    Defendants Ireland and Brown assisted Trooper

            Parks in the use of deadly force against Amber without legal cause

            or excuse.

                  81.    Defendants Ireland and Brown encouraged and

            supported Parks' decision to use deadly force against Amber by

            deploying deadly force themselves.




                                         13
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 14 of 21           PageID #: 20




                      82.    Defendants Ireland and Brown knew Amber was a

            passenger inside the Durango at the time they deployed deadly

            force, and at the time Trooper Parks deployed deadly force.

                     83.     Defendants Ireland and Brown were aware that

            Amber was not an imminent threat to anyone at the time they

            deployed force and at the time Trooper Parks deployed deadly

            force.

                     84.     Defendants Ireland and Brown took no actions or

            steps to prevent Trooper Parks from deploying deadly force

            against Amber.

                     85.     As a result of Defendants actions and omissions

            deadly force was used against Amber.

                     86.     Amber suffered the following damages:

                     (a)Violation of his rights under the Fourth Amendment of

                        the United States Constitution to be free from the use of

                        unreasonable and excessive force.

                     (b)Loss of her life.




                                            14
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 15 of 21            PageID #: 21




                     (c)Physical pain and suffering and emotional trauma and

                        suffering.

                     (d) Conscious pain and suffering and fear.

                     (e)Medical and funeral expenses.

                     (f) Loss of future earnings and wages.


                                       Count Two
             Excessive Force,Pursuant to 5. M.R.S.§ 4682 and Article 1 §5 of
             the State of Maine Constitution as to Defendants Parks, Ireland
                                       and Brown.


                     87.    The Plaintiff incorporates all previously alleged

            paragraphs as if alleged herein.

                     88.    The above named Defendant's violated Ambroshia E.

            Fagre's right under the Article 1 § 5 of the State of Maine

            Constitution to be free from the use of excessive and unreasonable

            force.

                     89.    As a result of the above violation Amber suffered the

            damages set forth in Paragraph #86 above.




                                           15
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 16 of 21         PageID #: 22




                                        Count Three
             Failure to Provide Police Protection Against Defendants Ireland,
               Parks, and Brown under the 14th Amendment of the United
                                    States Constitution.


                  90.    The Plaintiff incorporates all previously alleged

            paragraphs as if alleged herein.

                  91.    Defendants Ireland and Brown affirmatively acted to

            increase the threat which existed to Amber beyond that which

            otherwise existed including, but not limited to, failing to remove

            Amber from the Durango and placing her in a position of safety

            after learning an armed and dangerous suspect was in the area

            returning to her location, by failing to remove Amber from the

            Durango and placing her in a position of safety after observing she

            was suffering from a medical or mental health condition and could

            not care for herself, by leaving Amber alone inside the Durango

            knowing an armed and dangerous suspect with approaching the

            Durango, and by firing shots into the Durango knowing Amber

            was a passenger inside the vehicle.




                                         16
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 17 of 21            PageID #: 23




                     92.    The above named Defendants' actions and omissions

            created a reasonably foreseeable danger to Amber and caused her

            death.

                     93.    The actions of Defendants in their failure to protect

            Amber created and elevated the threat of harm to Amber and

            "shocks the conscience" in violation of the 14th Amendment of the

            United States Constitution.

                   94.      The Defendants' failure(s) to protect Amber in light

            of the foregoing represents a constitutional violation of Plaintiffs'

            civil rights.

                   95.      As a result of the above violation Amber suffered the

            damages set forth in Paragraph #86 above.


                                     Count Four
               Negligence Against Defendants Ireland,Parks,and Brown

                   96.      The Plaintiff incorporates all previously alleged

            paragraphs as if alleged herein.




                                           17
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 18 of 21         PageID #: 24




                  97.    The Plaintiff provided Notice Under Maine Tort

            Claims Act 14 M.R.S.A.§ 8107 to the named Defendants on July 27,

            2017 of the negligence claims set forth below.

                  98.    As police officers the Defendants owed Amber a

            special duty of care to protect her from harm.

                  99.    The above named Defendants acted unreasonably in

            deploying deadly force against Amber.

                  100.   The Defendants disregarded the risk to Amber in

            firing several shots into the Durango that they knew or reasonably

            should have known she was a passenger in.

                  101.   The Defendants acted unreasonably in failing to

            remove Amber from the Durango and place her in a position of

            safety as forth in the previous Count.

                  102.   The Defendants' actions directly caused the death of

            Amber.

                  103.   As a result of the above negligence, Amber suffered

            the damages set forth in Paragraph #86 above.




                                         18
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 19 of 21         PageID #: 25




                                    Count Five
                Wrongful Death,Pursuant to 18-A M.R.S.A.§ 2-804 as to
                       Defendants Parks,Brown,and Ireland.

                  104.   The Plaintiff incorporates all previously alleged

            paragraphs as if alleged herein.

                  105.   The Plaintiff provided Notice Under Maine Tort

            Claims Act 14 M.R.S.A.§ 8107 to the named Defendants on July 27,

            2017 of the wrongful death claims set forth below.

                  106.   The    above    named    Defendants'    violation   of

            Ambroshia E. Fagre's rights under federal and state constitutional

            law, and Maine law, as set forth in the previous paragraphs

            directly caused her death.

                  107.   As a result of Amber's death, the Plaintiff seeks

            damages as set forth and provided under Maine's Wrongful Death

            Statute, 18-A M.R.S.A.§ 2-804(b).




                                         19
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 20 of 21              PageID #: 26




                                      Count Six
            Wrongful Death - Conscious Pain and Suffering Pursuant to 18-
            A M.R.S.A.§ 2-804 as to Defendants Ireland,Parks,and Brown.

                   108.   The Plaintiff incorporates all previously alleged

            paragraphs as if alleged herein.

                   109.   Ambroshia E. Fagre suffered a period of conscious

            pain and suffering after being shot by Trooper Parks, and before

            her death.

                   110.   The Plaintiff seeks damages as set forth and

            provided under Maine's Wrongful Death Statute, 18-A M.R.S.A. §

            2-804(c).



                   V.     REQUEST FOR RELIEF

                   111.   As a result of the above claims for relief, the Plaintiff

            requests the following relief:

                          i. Compensatory damages;

                          ii.Punitive damages;

                          iii.Attorney fees and cost pursuant to 42 U.S.C.§

                          1988, and 5 M.R.S.§ 4683;




                                             20
Case 1:19-cv-00083-LEW Document 2-1 Filed 02/22/19 Page 21 of 21          PageID #: 27




                         iv. damages as provided for under 18-A M.R.S.A.§

                         2-804;

                         v. and all other monetary and equitable relief the

                         Court finds appropriate.




            Dated: February 6, 2019



                                             The P



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                                        21
